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                    Exhibit A
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



TAHIRIH JUSTICE CENTER, et al.,

Plaintiffs,

v.                                                         Civil Action No. 1:21-cv-124-TSC

ALEJANDRO MAYORKAS, et al.,

Defendants.



      DECLARATION OF ADILENE NUNEZ HUANG OF THE TAHIRIH JUSTICE
       CENTER IN SUPPORT OF THE RENEWED MOTION TO LIFT THE STAY

        I, Adilene Nunez Huang, make the following declaration.

     1. I am the Co-Director of Client Advocacy (Legal) of the Tahirih Justice Center

        (“Tahirih”), a national nonprofit organization that provides free holistic services to

        immigrants fleeing gender-based violence, including sexual assault, domestic violence,

        female genital mutilation/cutting, human trafficking, and forced and child marriage.

        Tahirih provides free legal representation for survivors who seek humanitarian

        immigration relief, including asylum, in the United States. This declaration is based on

        my personal knowledge and on information that I reviewed in the course of my duties as

        Co-Director of Client Advocacy (Legal) of Tahirih.

     2. Tahirih has offices in Falls Church, VA; Atlanta, GA; Baltimore, MD; Houston, TX; and

        San Bruno, CA. Each office screens service seekers for potential legal representation in

        immigration matters, including asylum claims.

     3. Tahirih’s services are in high demand, far outstripping our capacity to serve all those who



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   seek legal representation. When a service seeker requests Tahirih’s representation for a

   claim of asylum, an attorney reviews the facts of the case and analyzes its merit under

   U.S. law. The legal analysis requires knowledge of current standards for persecution,

   nexus to a protected ground, particular social groups, political opinion, and safe and

   reasonable internal relocation. Uncertainty surrounding the standards that apply to an

   asylum claim complicates the analysis of the merits of each case, adding to the time

   required to determine whether the case is appropriate for acceptance and representation.

4. For example, Tahirih maintains a set of standardized screening materials that guide and

   support our advocates as they gather relevant facts from service seekers. When a rule

   changes, the materials must be revised and updated to reflect the current applicable law

   and to facilitate the advocate’s collection of facts relevant to the newly applicable law.

   When the rules change after screening or intake, the client must be re-screened for facts

   relevant to the new rules, and the client must be re-assessed for eligibility for

   immigration relief. Duplication of screening and assessment of eligibility for relief

   imposes a significant burden on our advocates, limiting the number of service seekers

   who can be screened and clients who can be represented. Screening and assessment for

   eligibility are complicated where, as here, regulations are preliminarily enjoined but with

   uncertainty regarding imminent enforcement. Advocates must screen and assess based on

   the status quo but must also consider the chance of both favorable and unfavorable

   changes to applicable standards, which will affect clients accepted under a different set of

   rules. This problem is compounded here where forthcoming regulations are anticipated

   but their specific content and timeline cannot be predicted with certainty. Unknown but

   expected changes make it harder to predict the merit and difficulty of a case, which affect



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   the number of hours required to provide representation in a case. These challenges in turn

   make it harder to set targets for case acceptance and overall advocate caseload.

5. Tahirih also provides brief advice and counsel to service seekers, particularly to those

   service seekers whom Tahirih declines to represent. When the regulations change,

   Tahirih must revise brief advice and counsel resources and retrain our advocates to

   ensure that each advocate understands the currently applicable rules and regulations.

   Maintaining current and valid brief advice and counsel materials is an essential function

   and requires significant time and effort. When regulations remain uncertain, advocates

   must explain to service seekers the risks of changes to the law, possible timing of such

   changes and the relationship to the timing of a service seeker’s claim for asylum. For

   example, if a service seeker requests brief advice today, an advocate must explain to the

   service seeker not only the current state of the regulations and an assessment of the merit

   of the service seeker’s claim under current regulations but also the tenuous nature of the

   preliminary injunction against the regulations and the merit of the service seeker’s claim

   should it be adjudicated under the regulations—a scenario that becomes more likely with

   the passage of time and the lengthy backlogs in adjudications of both affirmative and

   defensive asylum claims. These complex explanations introduce significant confusion

   and stress to service seekers, who often have limited formal education and little to no

   familiarity with U.S. legal and regulatory processes.

6. Additionally, Tahirih provides training materials and webinars, which must be updated

   and given more frequently. Uncertainty around standards makes it more difficult to

   produce and provide written or recorded training materials as they must be frequently

   reviewed to ensure that they have not become obsolete or inaccurate.



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7. Delays in adjudication of asylum claims further contribute to the uncertainty surrounding

   the merit of a case. Tahirih’s docket includes a number of affirmative asylum cases that

   have been pending for several years, including some filed in 2015. Defensive asylum

   cases also face severe delays and backlogs, with many cases scheduled for individual

   merits hearings in 2026. On any given day, Tahirih staff must decide whether to accept a

   case that may not be adjudicated for many years. The prospect of applicable rules

   changing between case acceptance and adjudication threatens the integrity of the legal

   representation.

8. The changing rules combined with lengthy backlogs and delays in adjudications impact

   our pro bono partners and their ability and willingness to represent clients pro bono in

   both affirmative and defensive claims for asylum. These lengthy timelines increase the

   uncertainty that the regulations applicable at the time of case placement will also apply at

   the time of case adjudication—with serious effects on the merit of the case, particularly

   when, as now, the delays may reach three years or more. Our managing attorneys report

   increasing resistance and even refusal among law firms in accepting asylum cases for

   these reasons. An inability to place cases with pro bono partners dramatically increases

   the time spent on a case by Tahirih attorneys, which in turn reduces the number of service

   seekers accepted for full representation.

9. Tahirih represents survivors of gender-based violence. Because the Mega Rule purports

   to bar claims based on certain particular social groups, including some relating to gender,

   the viability of critical legal arguments for virtually every asylum client is at stake. A

   change in the status of the Mega Rule could dramatically reduce the viability of many of

   Tahirih’s clients’ asylum claims, resulting in a significant increase in hours required to



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   prepare a case for adjudication. Confusion is exacerbated where the reporting

   mechanisms for the regulations, such as e-CFR, do not offer sufficient clarity regarding

   which rules (or portions of rules) are currently in effect. Tahirih advocates frequently

   consult these web-based versions of the regulations and must confirm with every

   consultation that they are relying on a current version of the regulation. This results in

   attorneys having to spend even more time on a case, which unnecessarily frustrates the

   process. Indeed, enjoined regulations remain on the government website and are then

   picked up by additional reporting websites, such as Cornell LII, causing confusion for

   anyone doing internet research: attorneys and judges alike. Tahirih clients also feel the

   impact of this ongoing enjoined regulation confusion, particularly because it is not

   always clear whether a DHS attorney or Immigration Judge might have relied on a

   reported, but enjoined, regulation in reaching an adverse decision, for instance.

10. Such confusion is not mere speculation. Tahirih attorneys report continuing needs to

   provide education and clarifications regarding applicable regulations to newly hired and

   onboarded advocates, pro bono attorneys, DHS attorneys, and immigration judges—

   especially those recently appointed with minimal previous exposure to immigration law.

   One Tahirih advocate reported that her pro bono team had to redraft a section of an

   asylum brief after learning they had based an argument on a provision of an enjoined

   rule. Tahirih advocates have faced multiple instances in 2023 alone in which judges have

   relied on provisions of enjoined regulations to mischaracterize a client’s eligibility for

   relief, requiring advocacy from the Tahirih attorney to prevent a serious miscarriage of

   justice.

11. Tahirih advocates bear the brunt of these additional burdens, at a high cost to their



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   resiliency. Turning away increasing numbers of asylum seekers, revising strategy on

   cases, advising service seekers and clients on the uncertain status of applicable

   regulations and resulting unpredictability of the merit of their cases, working harder to

   place fewer cases with pro bono partners, providing additional guidance to pro bono

   attorneys when cases are placed, and managing more asylum cases in house—these tasks

   contribute to escalating stress and burnout among Tahirih staff. Tahirih’s advocates serve

   fewer clients in the same number of hours, leading to feelings of stress, anxiety, burnout,

   and attrition.

12. As Tahirih’s direct services arm has coped with the practical implications of the lack of

   clarity and stability inherent in a rule subject to preliminary injunction, Tahirih’s public

   policy team continues to invest significant time responding to the uncertainty of the

   regulations in at least two ways. First, the team’s attorneys must attend administration

   stakeholder events and coalition meetings and regularly review various sources on the

   internet and elsewhere to stay abreast of the anticipation and publication of new rules,

   policies, and other developments that relate to the content of the instant Rule. Such

   efforts to stay informed requires an investment of several hours per month—time that

   could otherwise be spent developing unrelated advocacy projects such as internal and

   external technical assistance, amicus support, and additional litigation matters that

   promote Tahirih’s mission. Second, and relatedly, the public policy team advocates for

   the publication of rules that rescind and replace these rules. For example, our Senior

   Immigration Policy Counsel has invested significant time and effort in drafting and

   circulating sign-on letters advocating the publication of a rule providing guidance on the

   law governing “particular social group” and related issues.



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In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge and belief.

Executed this ____th
               13    day of July, 2023, in _______________.
                                            Falls Church, VA




                                             ___________________________
                                             Adilene Nunez Huang
                                             Co-Director of Client Advocacy (Legal)
                                             Tahirih Justice Center




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